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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA


                                        Civil Cover Sheet
 This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
 September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet.
 The information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as
 required by law. This form is authorized for use only in the District of Arizona.

         The completed cover sheet must be printed directly to PDF and filed as an
                   attachment to the Complaint or Notice of Removal.

                                                                          , Pinal County; , Pinal County
                                                                          Board of Supervisors; Lando
            Scott Strobel ; Susan Strobel ; Ryan
  Plaintiff                                                     Defendant Voyles ; Paul Babeu ; Shawn
            Strobel ; Larry Strobel ; Strobel
  (s):                                                          (s):      Wilson ; Tim Gaffney ; , Does
            Logan
                                                                          I-XX; , Black & White
                                                                          Corporations I-V
 County of Residence: Pinal                                    County of Residence: Pinal
 County Where Claim For Relief Arose: Pinal


 Plaintiff's Atty(s):                                          Defendant's Atty(s):
 Matthew S. Long , Attorney (Scott Strobel ;                   James M. Jellison , Attorney ( , Pinal County; ,
 Susan Strobel ; Ryan Strobel ; Larry Strobel ;                Pinal County Board of Supervisors)
 Strobel Logan )                                               Jellison Law Offices, PLLC
 Rowley Long & Simmons, PLLC                                   2020 North Central Avenue, Ste. 670
 3707 East Southern Ave. Ste. 1103                             Phoenix, Arizona 85004
 Mesa, Arizona 85206                                           602-772-5520



 REMOVAL FROM PINAL COUNTY, CASE #CV 2017- 00435

 II. Basis of Jurisdiction:           3. Federal Question (U.S. not a party)

 III. Citizenship of Principal
 Parties (Diversity Cases Only)
                        Plaintiff:- N/A
                     Defendant:- N/A

 IV. Origin :                         2. Removed From State Court

 V. Nature of Suit:                   440 Other Civil Rights




http://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                        5/23/2017
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 VI.Cause of Action:                42 U.S.C. sections 1983 and 1988

 VII. Requested in Complaint
                  Class Action: No
              Dollar Demand:
                 Jury Demand: No

 VIII. This case is not related to another case.

 Signature: s/ James M. Jellison

        Date: 5/24/2017

 If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in
 your browser and change it. Once correct, save this form as a PDF and include it as an attachment to your case
 opening documents.

 Revised: 01/2014




http://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                  5/23/2017
